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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JOHN P BOYD,                                   §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §    Civil Action No. 4:21-cv-00732-O
                                                §
 MAHROUQ ENTERPRISES                            §
 INTERNATIONAL (MEI) INC.,                      §
                                                §
      Defendant.                                §


                                            ORDER

         Before the Court is the parties’ second Joint Motion to Extend Mediation Deadline (ECF

No. 25), filed June 22, 2022. On May 5, the Court granted the parties’ first Joint Motion for

Extension, allowing the parties several additional weeks to complete mediation and setting a new

deadline of June 22, 2022. ECF No. 24. Now, the parties seek almost six more weeks to conduct

mediation, explaining that “[d]ue to a series of regrettable miscommunications between the

Parties’ counsel, depositions were not completed.” ECF No. 25.

         There is no good cause for such delay. The parties were aware of their initial mediation

deadline since the original Scheduling Order was issued on October 21, 2021. ECF No. 17. Thus,

they had more than seven months to conduct discovery—including the regrettably incomplete

depositions. Having found no good cause, the Court DENIES the Motion. As the Court warned in

granting its May 5 extension, there will be no extension of the upcoming dispositive motions

deadline of July 6, 2022.

         SO ORDERED on this 22nd day of June, 2022.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE
